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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA, STATE OF
NEW YORK ex rel, Clifford Weiner,

Plaintiff,

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OP: OTe

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12 Civ. 1466 (ALC)

UNDER SEAL

SIEMENS AG, SIEMENS CORPORATION,
SIEMENS INDUSTRY, SIEMENS SCHLESINGER
ELECTRIC, LLC, JOHN DOE’S 1-100 and JANE
DOE CORPORATIONS 1-100,

Defendants.

 

 

ORDER

IT IS HEREBY ORDERED, that for good cause shown pursuant to 31 U.S.C. §
3730(b)(3), the time period for the United States to notify this Court of its decision whether to
intervene in this action or decline to do so is hereby extended from April 30, 2012, to and
including October 29, 2012.

Except as set forth in the Court’s order dated April 9, 2012, which partially lifted the seal
with regard to the Manhattan District Attorney’s Office and any investigators working with that
office, the complaint, any amended complaint, orders and all other documents submitted shall
remain under seal pursuant to 31 U.S.C. § 3730 during that period and until further order of the
Court.

The relator has included the State of New York as a plaintiff in the above-captioned case,
Because it would not serve the interests of judicial economy to require the Court to consider a
similar request for an extension of the seal and intervention deadline from the state, the extension

of the seal and time to intervene until October 29, 2012, shall be deemed to be on behalf of the

 
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State of New York as well.
SO ORDERED:

(A

HONORABLE ANDREW L. CARTER, JR.
UNITED STATES DISTRICT JUDGE \.2\ \9_

 
